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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )    4:05cr3020
     v.                              )
                                     )
ANTHONY L. COOPER and                )       ORDER
TYRONE V. THOMAS,                    )
                                     )
                                     )
     Defendants.                     )



     IT IS ORDERED:

     1. An evidentiary hearing on defendant Cooper’s motion to
suppress evidence, filing 25, will be held before the undersigned
on May 3, 2005 at 1:30 p.m. in Courtroom #2, United States
Courthouse and Federal Building, 100 Centennial Mall North,
Lincoln, Nebraska. The hearing is scheduled for a duration of
two hours. In the event counsel believe additional time is or
may be necessary, they should contact my courtroom deputy as soon
as practicable.

     2. Copies of all exhibits expected to be offered into
evidence during the hearing, except those to be used for
impeachment only, shall be delivered to the chambers of the
undersigned at least two working days prior to the hearing.

     3. The trial of this case, as pertains to ALL defendants,
is continued until further order of the court following
resolution of outstanding motions.

     Dated April 20, 2005

                                    BY THE COURT


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
